     Case 2:13-cr-00008-WFN        ECF No. 4113   filed 06/02/16   PageID.32733 Page 1 of 1




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 4                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                         No.    2:13-CR-0008-WFN-39
 7                                Plaintiff,         ORDER
                -vs-
 8
 9 BOBBY JOE WINES, JR.,
10                                Defendant.
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12              Pending before the Court is Defendant's pro se Motion for Reconsideration. ECF
13   No. 4112. Defendant has not stated a basis for reconsideration of the Court's original
14   ruling. The Court has reviewed the original Order and sees no legal error or mistake of
15   fact. Further the Court notes that while when fashioning the original sentence the Court
16   not only took into account the Defendant's relevant conduct and role in the offense while
17   calculating the guidelines, but the Court also took pains to ensure that there was no
18   sentencing disparity between co-Defendants. Due to the timing of the case, co-Defendants
19   were sentenced pursuant to both the old and new drug quantity chart. The Court has
20   reviewed the file and Motion and is fully informed. Accordingly,
21              IT IS ORDERED that Defendant's pro se Motion for Reconsideration, filed
22   May 26, 2016, ECF No. 4112, is DENIED.
23              The District Court Executive is directed to file this Order and provide copies to
24   counsel AND TO pro se Defendant.
25              DATED this 2nd day of June, 2016.
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27                                                  s/ Wm. Fremming Nielsen
28                                                    WM. FREMMING NIELSEN
     04-28-16                                  SENIOR UNITED STATES DISTRICT JUDGE


     ORDER
